Case 24-50792-hlb Doc1110 Entered 12/19/24 11:46:58 Page 1 of 2

NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA ia NOLO) 01030
by WONTAR WE

Name of Debtor: Case Number:

Meta Materials Inc 24-50792

1. Name and address of holder of the Equity Interest (the person or entity

holding an Equity Interest in the Debtor. Referred to hereinafter as the 0 Check box if you are aware that anyone
“Interest holder’): else has filed a proof of interest relating to
your interest. Attach copy of statement
cu tc TRU LO giving particulars.

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Mpves Te CAI AS 3S

the Debtors in this case.
Telephone Number:

(1 Check box if this address differs fh § BANKRUPTCY COl!=

. the address on the envelope sent to you,b ra LS cap weeny aly
2A | i lo -74 od the Debtors. cY A. SCr had fl | ; Ch
NOTE: This form SHOULD NOT be used to make a claim against the Debtor for money owed. A separate Proof of Claim
form should be used for that purpose. This form should only be used to assert an Equity Interest in the Debtor, An Equity
Interest is any right arising from any capital stock and any equity security in any of the Debtor. An equity security is defined
in the Bankruptcy Code as (a) a share in a corporation whether or not transferable or denominated stock or similar COURT USE ONLY
security, (b) interest of a limited partner in a limited partnership, or (c) warrant or right other than a right to convert, to
purchase, sell, or subscribe to a share, security, or interest.of a kind specified in subsection (a) or (b)herein.

Account or other number by which Interest holder identifies Debtor: Check here if this claim:
J replaces a previously filed Proof of Interest dated:
X8 5 -8495 1 3 C) amends a previously filed Proof of Interestdated:
2. Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:
the Equity Interest asserted in this Proof of Interest: ‘ . * a? f
Bernese 07-19-21 | O874-27
Eric Trujillo
P.O. Box 28019 Albuaueraue. NM 87125-8019 SEE MTTIAC HED “Pocomeitat woul
Telephone Number: 1(800)343-3548
4. Total amount of member interest:_25-500 shares for $171,368.17 5. Certificate number(s): 5¢¢ attached documentation

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
W@ Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
C1 Check this box if your Equity Interest is based on anything else and describe that interest:
Description; Livestor

7, Supporting Documents: Attach copies of supporting documents, suoh as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of
Interest.

9. Signature:
Check the appropriate box.
Tam the creditor. 11 I am the creditor’s authorized agent. Cf) Lam the trustee, or the debtor, O Iam a guarantor, surety, endorser, or othercodebtor.
(Attach copy of power of attorney, ifany.) or their authorized agent. (See Bankruptey Rule 3005.)
(See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: Ene Tajo a

Title: a a

Company:__ Address and telephone number (if different from notice BG c ther Vee 17 “ Is- 24
address above): (Signature) f Date)

Telephone famber: 209 416-7404 emait: eric trujillo32@gmail.com

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both, 18 U.S.C. §§ 152 AND 3571
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